    Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 1 of 27




                    UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK

NATIONAL COALITION ON
BLACK CIVIC PARTICIPATION,
MARY WINTER, GENE
STEINBERG, NANCY HART,
SARAH WOLFF, KAREN SLAVEN,
KATE KENNEDY, EDA DANIEL,and                   Civil Action No. 20-cv-08668-VM-OTW
ANDREA SFERES,

                           Plaintiffs,
               -and-

People of the STATE OF NEW
YORK, by its attorney general,
LETITIA JAMES, ATTORNEY
GENERAL OF THE STATE OF
NEW YORK

                  Plaintiff-Intervenor,

          v.

JACOB WOHL, JACK BURKMAN,
J.M. BURKMAN & ASSOCIATES,
LLC, PROJECT 1599, MESSAGE
COMMUNICATIONS, INC., and
ROBERT MAHANIAN,


                            Defendants.

DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’
              MOTION FOR SUMMARY JUDGMENT

                                          GERSTMAN SCHWARTZ, LLP
                                          Randy E. Kleinman, Esq.
                                          David M. Schwartz, Esq.
                                          1399 Franklin Avenue, Suite 200
                                          Garden City, New York 11530
                                          (516) 880 – 8170

                                          Attorneys for Defendants
       Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 2 of 27




                                  TABLE OF CONTENTS
                                                                                    Page(s)
TABLE OF AUTHORITIES…………………………………………………………………i-iii
PRELIMINARY STATEMENT………………………………………………………………..1
  I.   Defendants’ Alleged Conduct Violated Neither Section 11(b) Of The VRA Nor
       the KKK Act……………………………………………………………………………6
          a. The Robocall merely expresses a constitutionally protected opinion………….6

          b. Context is crucial to the identification of a true threat…………………………9

          c. Burkman and Wohl’s prior conduct proves that the Robocall was

              political speech…………………………………………………………………11

          d. Content-based restrictions are patently unconstitutional………………………12
          e. The phrase “intimidate, threaten, or coerce” under the VRA or KKK
              Act should be given its ordinary meaning suggested by its plain
              words…………………………………………………………………………..13
                i.   The Individual Plaintiffs………………………………………………16
               ii.   The NCBCP……………………………………………………………19
 II.   Defendants Did Not Violate Section 131(b) of the Civil Rights Act of 1957………..20

III.   Defendants Did Not Violate Sections 40-c and 40-d of New York Civil Rights Law..21

IV.    Defendants Did Not Violate Section 9 of NY Civil Rights Law……………………..21

V.     Defendants Did Not Violate Section 63(12) of the NY Executive Law……………...21


CONCLUSION……………………………………………………………………………….21




                                               i
            Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 3 of 27




                                                 TABLE OF AUTHORITIES

Cases
Abrams v. United States,
   250 U. S. 616 (1919) ................................................................................................................ 6
Burson v. Freeman,
   504 U.S. 191 (1992) ................................................................................................................. 2
Disabled in Action of Penn. v. Se. Penn. Trans Auth.,
   539 F.3d 199 (3d Cir. 2008) ................................................................................................... 14
Guilford,
  760 A.2d ................................................................................................................................. 12
Iancu v. Brunetti,
   139 S. Ct. 2294 (2019) ...................................................................................................... 12, 13
Mahoney Area Sch. Dist. V. B.L.,
  141 S. Ct. 2038 (2021) .............................................................................................................. 8
MCI Telecomms. Corp. v. AT&T Co.,
  512 U.S. 218–28 (1994) ......................................................................................................... 14
McIntyre v. Ohio Elections Comm'n,
  514 U.S. 334 (1995) ............................................................................................................. 7, 8
Morse v. Frederick,
  551 U.S. 393 (2007) ................................................................................................................. 6
NAACP v. Thompson,
  357 F.2d 831 (5th Cir. 1966) .................................................................................................. 16
Reed,
   576 U. S., 135 S. Ct. 2218 ...................................................................................................... 13
Rickert v. Pub. Disclosure Comm’n,
   168 P.3d 826 ............................................................................................................................. 7
Rosenberger v. Rector & Visitors of Univ. of Va.,
   515 U.S. 819 (1995) ............................................................................................................... 12
Sedition Act of 1798.” N.Y. Times v. Sullivan,
   376 U.S. 254 (1964) ................................................................................................................. 8
Shelby County v. Holder,
   570 U.S. 529 (2013) ............................................................................................................... 19
Snyder
   S, 562 U.S. ............................................................................................................................ 7, 9

                                                                       ii
            Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 4 of 27




Matal v. Tam
  137 S. Ct. 1744 (2017) ...................................................................................................... 12, 13
U.S. v. Bagdasarian,
   2011 WL 2803583 (9th Cir. 2010) ................................................................................... 10-11
U.S. v. Nguyen,
   673 F.3d 1259 (9th Cir. 2012) ......................................................................................... 19, 20
U.S. v. Stewart,
   411 F.3d 825 (7th Cir. 2005) ............................................................................................ 13, 14
U.S. v. Turner,
   720 F.3d 411 (2d. Cir. 2013) .............................................................................................. 9, 14
United States v. Alvarez,
  132 S. Ct. 2537 (2012) .......................................................................................................... 2, 7
United States v. Bly,
  510 F.3d 453 (4th Cir. 2007) .................................................................................................. 11
United States v. Carrier,
  672 F. 2d 300 (2d Cir. 1982) .................................................................................................. 14
United States v. Clark,
  249 F. Supp. 720 (S.D. Ala. 1965) ......................................................................................... 18
United States v. McLeod,
  385 F.2d 734 (5th Cir. 1967) ............................................................................................ 15, 16
United States v. Prochaska,
  222 F.2d 1 (7th Cir. 1955) ........................................................................................................ 9
United States v. Wood,
  295 F.2d 772 (5th Cir. 1961) .................................................................................................. 18
Watts v. United States,
  394 U.S. 705 (1969) ......................................................................................................... 13, 14
Whitney v. California,
  274 U. S. 357 (1927) ................................................................................................................ 6

Statutes
42 U.S.C. § 1971 .......................................................................................................................... 15
42 U.S.C. § 1973i ......................................................................................................................... 15
52 U.S.C.A. § 10101 .................................................................................................................... 21


Other Authorities

                                                                     iii
            Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 5 of 27




U.S. Const., Am. 1 ................................................................................................................... 6, 21




                                                                    iv
          Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 6 of 27




                                     PRELIMINARY STATEMENT

        “I am not a crook.” “Read my lips: no new taxes!” “I did not have sexual relations with

that woman.” “Mission accomplished.” “If you like your healthcare plan, you can keep it.”

        George Washington may have been incapable of telling a lie, 1 but it is clear his successors

have no such impediments. The campaign promise (and its subsequent violation), as well as

disparaging statements about one’s opponent, a political stance, or a particular method of voting

(whether true, mostly true, mostly not true, or entirely fantastic), are cornerstones of American

democracy. Indeed, mocking and satire are as old as America, and if Plaintiffs beg to differ, they

can ask Thomas Jefferson, “the son of a half-breed squaw...” 2 Or perhaps it should ponder, as

Grover Cleveland was forced to, “Ma, ma, where’s my pa?” 3 for that matter.

        In modern times, “truthiness” – a “truth” asserted “from the gut” or because it “feels right,”

without regard to evidence or logic 4 – is also a key part of political discourse. It is difficult to

imagine life without it, and our political discourse is weakened by Orwellian policies and legal

tactics that try to prohibit it. After all, where would we be without the knowledge that all

Democrats are pinko-communist flag-burners who will steal all the guns and invite the UN to take

over America? Voters have to decide whether we would be better off electing Republicans, those

hateful, assault-weapon-wielding, war mongering, fascist maniacs who believe that the only thing

wrong with the death penalty is that it is not administered quickly enough.




1
  Apocryphal.
2
  Monticello.org, Son of a Halfbreed Indian Squaw (Quotation), http:// www.monticello.org/site/son-half- breed-
indian-squaw-quotation (last visited Aug. 11, 2022).
3
  Answer: “Gone to the White House, ha ha ha!” Elisabeth Donnelly, Ye Olde Sex Scandals: Grover Cleveland’s Love
Child, The Awl, http:// ww.theawl.com/2010/02/ye- olde-sex-scandals-grover-clevelands-love-child.
4
  Wikipedia.com, Truthiness, http://en.wikipedia.org/wiki/Truthiness (last visited Aug. 11, 2022) (describing the
term’s coinage by Stephen Colbert during the pilot of his show in October 2005). See also Dictionary.com, Truthiness,
http:// dictionary.reference.com/browse/truthiness (last visited Aug. 11, 2022).


                                                         1
            Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 7 of 27




           Everybody knows that the economy is better off under [Republican/Democratic] 5

presidents – who control it directly with big levers in the Oval Office – and that: President Obama

was born in Kenya; President Trump is an inveterate liar and Russian agent; and all Republicans

oppose immigration because they are racists. Each of the foregoing statements could be considered

“truthy,” yet all contribute to our political discourse. Lawsuits, like the one brought by Plaintiffs

here, which attack presumptively “false” speech, do not replace truthiness, satire, and snark with

high-minded ideas and “just the facts.” Instead, they chill speech such that spin becomes silence.

More importantly, Plaintiffs’ attack of lies and darn lies is inconsistent with the First Amendment.

           The Supreme Court has repeatedly held that political speech, including and especially

speech about political issues, merits the highest level of protection. See, e.g., Burson v. Freeman,

504 U.S. 191, 196 (1992) (“the First Amendment has its fullest and most urgent application to

speech uttered during a campaign for political office.”). Indeed, the Supreme Court has held that

the First Amendment protects outright lies with as much force as the truth. United States v. Alvarez,

132 S. Ct. 2537 (2012). As such, Plaintiffs have no right to eliminate truthiness from political

commentary. Nor are Plaintiffs well-suited for evaluating when a statement crosses the line into a

falsehood. The fundamental basis of this lawsuit blatantly violates the First Amendment and

directly conflicts with Alvarez. This Court should deny Plaintiffs’ motion – and indeed, terminate

the lawsuit – with prejudice.

           Here, Plaintiffs rather boldly miscast so-called “facts” as agreed upon, or not in contention,

while making broad assumptions unsupported by the record. Plaintiffs assert that the Robocall was

part of a “voter intimidation campaign aimed at suppressing the votes of Black Americans”, but

conveniently ignore the fact that Mary Winter (“Winter”), Gene Steinberg (“Steinberg”), Nancy



5
    Circle as appropriate.

                                                     2
         Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 8 of 27




Hart (“Hart”), Sarah Wolff (“Wolff”), Karen Slaven (“Slaven”), Kate Kennedy (“Kennedy”), Eda

Daniel (“Daniel”), and Andrea Sferes (“Sferes”) (collectively, the “Individual Plaintiffs”) are all

White, and that not a single Black American who received the call has joined this lawsuit or even

complained of anything. Nor did any member of the National Coalition on Black Civic

Participation (“NCBCP”) receive the call and, in any event, NCBCP does not claim the purpose

of the Robocall was to suppress Black votes, but instead claims that it was meant to “trick” black

people into voting in person. See Docket No. 149 at ¶ 72. Indeed, many of the Individual Plaintiffs

agree that mail-in voting is less reliable and subject to partisan hackery. See, e.g., Ex. B at 16:6-

16 (“I believe there were issues about mailboxes being removed and mailing equipment being

taken out of post offices and so it didn’t -- it just was -- it made me feel uncertain and I wanted to

be sure my vote was counted.”); Ex. E at 52:15-25 (mail in voting “would be a good option if it

were reliable”).

        A political statement intended to encourage traditional, in-person voting over mail-in

voting is not voter suppression. This is central to all the claims alleged herein. By extension, even

if a statement encouraging traditional voting incorporated puerile arguments, this is not equivalent

to intimation, threats, or coercion, and, not surprisingly, none of the Individual Plaintiffs found it

to be so (although they did speculate that Black people they have never met or spoken to may have

found it so). And while Plaintiffs allege that the call “used racist stereotypes to sow fear and

confusion about voting by mail”, they conveniently ignore the other robocalls recorded by

Defendants that encourage Black voters to go out and vote. Indeed, using robocalls to target the

Black community about issues related to voting is consonant with NCBCP’s own mission and

something NCBCP has itself engaged in. 6 This is irrefutably permissible, as is a robocall designed


6
 https://www.ncbcp.org/news/releases/galvanize_over_150000_bw_vote/index.html;
https://www.ncbcp.org/news/releases/coalition_of_black_women_leaders_ga_vote/index.html

                                                     3
        Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 9 of 27




to encourage voters (or even Black voters) to vote in-person, thereby avoiding the widely

acknowledged pitfalls of mail-in voting. Ironic, irreverent, provocative – whatever; the (perhaps

incorrigible) Defendants were entitled to make a political statement that mail-in voting is

inherently problematic.

       That Plaintiffs claim to have “[h]ard, documentary evidence, including emails, checks, and

call records, supports” that Defendants sent the robocall to Black neighborhoods is of no moment,

and misses the forest for the trees, because there is not one scintilla of evidence demonstrating a

racial animus. If merely communicating to a broader audience that mail-in voting is replete with

pitfalls constitutes voter suppression, then the justice system will be very busy indeed.

Perplexingly, Plaintiffs contend that “the robocall can only be read one way—as a series of

threats.” But this is a ludicrous supposition that belies the Individual Plaintiffs’ own testimony.

See, e.g., (Exhibit A at 22:4-25:1; Exhibit B at 59:1-7; Exhibit D 25:11-13; Exhibit E at 27:7-9;

Exhibit F at 30:23-31:6; Exhibit G at 53:1-2; Exhibit H at 42:9-14). In fact, their testimony leaves

no surviving claims, let alone any basis whatsoever to award summary judgment.

       Even assuming, arguendo, the evidence establishes that Defendants were responsible for

the transmission of the Robocall, this is a far cry from proving that there is no evidence supporting

Defendants’ view of the facts or that Plaintiff’s have satisfied each and every element to their

claims. By Plaintiffs’ logic, between Defendants pre-litigation, pro se “admissions” and the

Court’s injunction-related ruling that the Robocall can only be viewed as “intimidating and

threatening,” Plaintiffs had already proven their case in October of 2020. As such, the discovery

stage to date has merely been a symbolic exercise in futility, presumably to allow counsel for

Plaintiffs to bill their clients, waste taxpayer dollars, and run up the damages award. Of course,

this reasoning also requires entirely ignoring the record developed during Plaintiffs’ depositions,



                                                 4
         Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 10 of 27




which cannot be reconciled with Plaintiffs’ claims. Given that Plaintiffs’ and Defendants’ have

differing interpretations of the record, at the very least, this raises questions of fact precluding a

finding of summary judgment for Plaintiffs.

         Lastly, Plaintiffs flippant and revelatory statement that “Defendants are likely to repeat

their conduct, and others will learn from their example” is not only inaccurate but lays bare that

the true intent of this lawsuit is to repurpose both section 11(b) of the VRA and the KKK Act as

cudgels to asphyxiate politically controversial, and otherwise odious and offensive, free speech. It

is more than just ironic that Plaintiffs accuse Defendants of engaging in “Russian-style

disinformation” tactics—notwithstanding that, unlike a foreign actor such as Russia, it is entirely

legal for an American citizen to spread politically discordant speech, propaganda, and even

outright lies—when Plaintiffs themselves are employing tactics straight out of the Bolshevik

playbook for crushing political dissent. Indeed, this is not “irony,” but rather something far more

sinister and insidious: it is gaslighting in the most Orwellian sense of the word. Plaintiffs,

seemingly empowered by the Court’s earlier rulings, no longer hide their true motives – to use

Defendants as an “example,” or warning, to others who may dare speak out against the self-

proclaimed nouveau Ministry of Truth: Beware: we will denigrate you; we will imprison you; we

will bankrupt you; so, “toe the line.” This is not hyperbole. This is exactly what Plaintiffs intend

to do.

         This country has a long and estimable history of pundits and satirists exposing the

exaggerations and prevarications of political rhetoric. Like it or not, Defendants’ alleged actions

are a piece of that tradition. “Lenny Bruce is not Afraid.” In fact, even in the absence of the First

Amendment, no court or government agency (such as the Attorney General’s Office) could do a




                                                  5
        Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 11 of 27




better job policing political honesty than the myriad personalities and entities who expose

charlatans, mock liars, lambaste arrogance, and unmask truthiness for a living.

         As the Supreme Court has stated: The remedy for speech that is false is speech that is

true. This is the ordinary course in a free society. The response to the unreasoned is the rational;

to the uninformed, the enlightened; to the straight-out lie, the simple truth. See Whitney v.

California, 274 U. S. 357, 377 (1927) (Brandeis, J., concurring) (“If there be time to expose

through discussion the falsehood and fallacies, to avert the evil by the processes of education, the

remedy to be applied is more speech, not enforced silence”). The theory of our Constitution is

“that the best test of truth is the power of the thought to get itself accepted in the competition of

the market,” Abrams v. United States, 250 U. S. 616, 630 (1919) (Holmes, J., dissenting). The First

Amendment itself ensures the right to respond to speech we do not like, and for good reason.

Freedom of speech and thought flows not from the beneficence of the state but from the inalienable

rights of the person. And suppression of speech by the government can make exposure of falsity

more difficult, not less so. Society has the right and civic duty to engage in open, dynamic, rational

discourse. These ends are not well served when citizens seek to orchestrate public discussion

through content-based sanctions.

   I. Defendants Alleged Conduct Violated Neither Section 11(b) Of The VRA Nor the
      KKK Act.
           a. The Robocall merely expresses a constitutionally protected opinion.
   Because democracy depends upon the free exchange of ideas, the First Amendment forbids

laws “abridging the freedom of speech.” U.S. Const., Am. 1. Political speech “is at the core of

what the First Amendment is designed to protect.” Morse v. Frederick, 551 U.S. 393, 403 (2007).

The Supreme Court has thus long interpreted that Amendment as “afford[ing] the broadest

protection to such political expression in order ‘to assure [the] unfettered interchange of ideas for


                                                  6
        Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 12 of 27




the bringing about of political and social changes desired by the people.” McIntyre v. Ohio

Elections Comm'n, 514 U.S. 334, 346 (1995) (quoting Buckley v. Valeo, 424 U.S. 1, 14-15

(1976) (per curiam)). Plaintiffs rely on statements that are unambiguously protected political

speech. As Plaintiffs are well aware, supporters of in-person voting are perfectly within their rights

to debate the pitfalls of mail-in voting. However upsetting or deplorable the Plaintiffs may find

these views, they cannot restrict them. “As a Nation we have chosen a different course--to protect

even hurtful speech on public issues to ensure that we do not stifle public debate.” Snyder, 562

U.S. at 461.

   Many political statements cannot easily be categorized as simply “true” or “false.” More

importantly, even if such a categorization could be made, false (and truthy) speech is protected by

the First Amendment, especially if it is political. In United States v. Alvarez, the Supreme Court

held that there is no “general exception to the First Amendment for false statements.” 132 S. Ct.

at 2544. In that case, the speech was entirely false, and there was no reasonable way to interpret it

as truthful. Yet if Alvarez confirmed that the First Amendment protects even blatant lies made in

the political context, surely it protects spin, parody, and truthiness.

   In declaring unconstitutional an equivalent ban on false political speech, the Washington

Supreme Court held that the government’s claimed interest in prohibiting false statements of fact

was invalid, in part because it “presupposes the State possesses an independent right to determine

truth and falsity in political debate, a proposition fundamentally at odds with the principles

embodied in the First Amendment. Moreover, it naively assumes that the government is capable

of correctly and consistently negotiating the thin line between fact and opinion in political speech.”

Rickert v. Pub. Disclosure Comm’n, 168 P.3d 826, 849-850 (Wa. 2007). “[N]either factual error

nor defamatory content suffices to remove the constitutional shield from criticism of official



                                                   7
        Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 13 of 27




conduct, the combination of the two elements is no less inadequate. This is the lesson to be drawn

from the great controversy over the Sedition Act of 1798.” N.Y. Times v. Sullivan, 376 U.S. 254,

273 (1964). By the same logic, false statements about mail-in voting are also constitutionally

protected. Statements that are merely false, and not inherently threatening, must therefore also be

protected.

       This case began with a message – “beware of vote by mail” – that could have caused

consternation if uttered at a bar or dinner party. Surreally, it ended up in a Federal Court. Even

worse, the substance of the Robocall is substantially true, or, at the very least truthy. Statements

of this kind – call them truthiness, spin, smear, or anything else – are as politically important as

their “factually pure” counterparts. Democracy is based on the principle that the people can speak

about their beliefs and values, and what they trust. Plaintiffs seek to stifle, chill, and punish

rhetorical hyperbole and political satire. A publication like The Onion – which regularly puts words

in political figures’ mouths, or makes up outlandish stories about them – could be next.

       That Defendants’ advocacy occurred in the months leading up to a controversial

presidential election only strengthens the protection afforded to Defendants expression: “Urgent,

important, and effective speech can be no less protected than impotent speech, lest the right to

speak be relegated to those instances when it is least needed.” McIntyre, 514 U.S. at 347. No form

of speech is entitled to greater constitutional protection than Defendants’. And although “[i]t might

be tempting to dismiss [the Robocall] as unworthy of the robust First Amendment protections

discussed herein [] sometimes it is necessary to protect the superfluous in order to preserve the

necessary. Mahoney Area Sch. Dist. V. B.L., 141 S. Ct. 2038, 2048 (2021) “We cannot lose sight

of the fact that, in what otherwise might seem a trifling and annoying instance of individual

distasteful abuse of a privilege, these fundamental societal values are truly implicated.” Id.



                                                 8
        Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 14 of 27




(internal quotations omitted). Indeed, it is hard to imagine a court ruling more inimical to the

public interest than one aimed at chilling a citizen’s political speech. Plaintiff’s sweeping request

for relief thus runs roughshod over the First Amendment. And the supposed legal violations are

based on pure speculation. The Robocall is clearly political speech protected by the First

Amendment. It offers opinions on a highly charged issue – mail-in voting – and expressed views

that this method of voting has some considerable pitfalls. Plaintiffs’ suggestion that Defendants

seek to suppress voter participation by invoking concerns about mail-in voting is troubling.

Regardless of whether Plaintiffs believe these pitfalls are real or imaginary, these issues have been

the subject of a robust public debate for many years.

           b. Context is crucial to the identification of a true threat.
   Context is crucial to identification of a true threat. U.S. v. Turner, 720 F.3d 411, 420 (2d. Cir.

2013). The context here does not bespeak danger. The nature and specific content of the Robocall

are not the only contextual factors making it obvious that the allegedly intimidating statements are

instead political speech. This kind of language permeates today’s public discourse. A statement

need not be “refined social or political commentary” to be constitutionally protected. Snyder, 131

S. Ct. at 1217 (placards stating “God Hates the USA/Thank God for 9/11,” “Thank God for IEDs,”

“God Hates Fags,” and “Thank God for Dead Soldiers” protected by First Amendment because

they touched on matters of public importance). Judging coarse social or political commentary by

examining the words and phrases in a vacuum, apart from their cultural context, is contrary to

common sense and unlikely to yield a reasonable interpretation. See United States v. Prochaska,

222 F.2d 1, 3 (7th Cir. 1955) (“[T]he slang expressions employed [in threatening letter for which

defendant was prosecuted] are part of a stereotyped vocabulary of the Holly woodesque

underworld and are essentially synonymous with a promise of a ‘one-way ride.’ As such, they have

become a universally understood part of our vocabulary.”).

                                                 9
         Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 15 of 27




     The internet and other media today publish vast amounts of uninhibited discussion on highly

divisive social issues that elicit strong visceral reactions. All manner of crude, insulting, and

vituperative expressions of opinion on matters of public concern are now routine and widely

available, including endless examples of speech rhetorically calling for the murder of a reviled

opponent. See, e.g., “Salon Publishes Call for Murder of Sarah Palin (Liberal online political

magazine Salon.com published a letter to the editor yesterday that called for the murder of 2008

Republican vice presidential nominee former Alaska Governor Sarah Palin. . . .”); see article dated

December 18, 2010, available at http://www.freepublic.com/focus/f-news/2644544/posts; ‘Kill

Rumsfeld’ Ad Withdrawn, The Washington Times, April 14, 2004. (“A Florida Democratic club

has taken out a newspaper advertisement urging the assassination of Secretary of Defense Donald

H.      Rumsfeld”);       Glenn      Beck       radio      show,      5/17/05,      Available       at

https://www.youtube.com/watch?v=ctwqnkWdCJg (Beck: “I'm thinking about killing Michael

Moore, and I'm wondering if I could kill him myself, or if I would need to hire somebody to do it.

No, I think I could. I think he could be looking me in the eye, you know, and I could just be choking

the life out - is this wrong? I stopped wearing my What Would Jesus - band - Do, and I've lost all

sense of right and wrong now. I used to be able to say, “Yeah, I'd kill Michael Moore,” and then

I'd see the little band: What Would Jesus Do? And then I'd realize, “Oh, you wouldn't kill Michael

Moore. Or at least you wouldn't choke him to death.” And you know, well, I'm not sure.).

     The Robocall is no more of a threat than the speech in these examples, none of which could or

should subject the speaker to civil liability. If anything, the Robocall’s rhetorical devices, passive

syntax, and informed opinions of mail-in voting differentiate this commentary on its face from the

raw calls for violence in the foregoing examples. See U.S. v. Bagdasarian, 2011 WL 2803583 (9th

Cir. 2010) (words that are predictive or exhortatory do not objectively express a threat by the



                                                 10
        Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 16 of 27




speaker and are not criminalized by a threat statute). Indeed, the syntax is inherently that of an

opinion – shorthand for “in my opinion, mail-in voting has many pitfalls” – not a statement of

definitive action. The Robocall addresses a matter of public concern and expressly ends with the

statement: “Stay safe and beware of vote by mail”, clearly telling the reader that what preceded it

was an expression of opinion. Here, the contextual factors point unequivocally to one conclusion:

That the Robocall is political speech protected by the First Amendment. Compare, e.g., United

States v. Bly, 510 F.3d 453, 459 (4th Cir. 2007) (factors supporting conclusion that letter was

unprotected “true threat” included that “[it] was not addressed to a public audience and[] ... it was

delivered privately to specific individuals”).

           c. Burkman and Wohl’s prior conduct proves that the Robocall was political
              speech.
       Prior robocalls sanctioned by the Defendants provide another essential context showing

   that the Robocall at issue was political. Significantly, in the months leading up to the

   November 2020 presidential election, Burkman and Wohl recorded the following robocall

   urging citizens to go out and vote (the “Kanye Robocall”):

               Did you know that Joe Biden wrote the 1994 crime bill that locked
               up millions of black people for non-violent drug crimes? He was so
               proud he even called it “The Biden Bill.” His VP pick Kamala Harris
               was a corrupt prosecutor for most of her career. She kept Black
               people in jail beyond their sentences for free prison labor! She
               refused to charge her fellow cop for police brutality. Joe and Kamala
               do not stand with Black people! Kanye West is the only presidential
               candidate that would stand up for Black Americans, and he’s on the
               ballot! Vote Kanye on November 3rd!
       Notably, nobody has sought to prosecute Defendants for the Kanye Robocall despite the

fact that the call targets the Black community. This is because Defendants are encouraging the

Black community to go out and vote. It is therefore illogical to suggest that Defendants were

simultaneously engaged in a campaign to deter voting, rather than merely pointing out the pitfalls


                                                 11
           Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 17 of 27




of mail-in voting. In fact, the Kanye Robocall is little different than the Robocalls the NCBCP

itself disseminated in 2018 “from Black celebrities including Sheryl Lee Ralph, Judge Glenda

Hatchett, Judge Penny Brown Reynolds, Susan L. Taylor and others for a digital social media

campaign targeted in Georgia to over 50,000 households of Black women voters” 7 encouraging

the Black community to vote. The Robocall at issue in this case was merely satire used to give

Defendants’ political commentaries both political pedigree and shock value.

           Courts must serve as gatekeepers to ensure that protected speech on matters of public

controversy is not subject to the burdens of litigation and potential liability. As the Supreme Court

has emphasized, “it is the court, not the jury, that must vigilantly stand guard against even slight

encroachments on the fundamental constitutional right of all citizens to speak out on public issues

without fear of reprisal.” Guilford, 760 A.2d at 583 (internal quotations omitted).

               d. Content-based restrictions are patently unconstitutional
           Plaintiffs’ claims elide the distinction between unprotected speech and protected speech

that may be regulated in the political context. It is axiomatic that neither the government nor the

courts may, consistent with the First Amendment, prohibit the expression of certain disfavored

viewpoints. The idea that the government or the Court “has an interest in preventing speech

expressing ideas that offend” is an idea that “strikes at the heart of the First Amendment.” Matal

v. Tam, 137 S. Ct. 1744, 1764-65 (2017). Viewpoint discrimination is an “egregious form of

content discrimination” and “presumptively unconstitutional.” Rosenberger v. Rector & Visitors

of Univ. of Va., 515 U.S. 819, 829-30 (1995). It is the “essence of viewpoint discrimination” for

the government to allow speech that is “positive,” but not speech that is “derogatory.” Iancu v.

Brunetti, 139 S. Ct. 2294, 2299 (2019) (quoting Matal, 137 S. Ct. at 1766). Thus, the Supreme



7
    https://www.ncbcp.org/news/releases/coalition_of_black_women_leaders_ga_vote/ (last accessed July 15, 2022).

                                                        12
       Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 18 of 27




Court invalidated an anti-disparagement provision that precluded trademark owners from

registering marks that disparaged any group of people, but permitted non-disparaging

marks. Matal, 137 S. Ct. at 1763. Likewise, in Iancu, the Supreme Court invalidated a provision

that precluded trademark owners from registering “immoral or scandalous” marks, but permitted

marks that the government deemed moral, and not scandalous. Iancu, 139 S. Ct. at 2299--2302.

       The so-called “false” or “negative” information that Plaintiffs allege is contained within

the Robocall, and upon which their claims are based, is viewpoint discriminatory for the same

reason that the anti-disparagement rule at issue in Matal and the “immoral or scandalous” rule at

issue in Iancu were: They seek to prevent information critical to a political issue based on the

underlying message itself, to permit positive information but not negative information, and to

engage in speech that supports a certain political perspective, but not others. As the Supreme Court

has explained, censoring speech because some people may take issue with the viewpoint is

viewpoint discrimination. Child Evangelism Fellowship v. Stafford Twp. Sch. Dist., 386. F. 3d 514,

527 (3d Cir. 2004); Reed, 576 U. S., at 163, 135 S. Ct. 2218 (A regulation of speech is facially

content based under the First Amendment if it “target[s] speech based on its communicative

content”—that is, if it “applies to particular speech because of the topic discussed or the idea or

message expressed.” Reed, 576 U. S. 155, 163 (2015).

           e. The phrase “intimidate, threaten, or coerce” under the VRA or KKK Act
              should be given its ordinary meaning suggested by its plain words.
       Statutes such as the VRA “must be interpreted with the commands of the First Amendment

clearly in mind. What is a threat must be distinguished from what is constitutionally protected

speech.” Watts v. United States, 394 U.S. 705, 707 (1969); U.S. v. Stewart, 411 F.3d 825, 828 (7th

Cir. 2005) (same). The constitutional requirements are well settled: the First Amendment requires

the government or a civil plaintiff to prove a “true threat,” a term coined in Watts to distinguish


                                                13
         Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 19 of 27




genuinely threatening and unprotected speech from constitutionally protected “political

hyperbole.” Watts, 394 U.S. at 708. Watts established the distinction between “political

hyperbole,” however “vituperative, abusive,” “crude,” or “offensive,” and a true threat. Id. at 708.

Under Watts, only a true threat can be punished, and, conversely, in order to punish “pure speech,”

the Government must prove that the speech is a “true threat.” Id. at 707; see also Stewart, 411 F.3d

at 828; United States v. Carrier, 672 F. 2d 300, 306 (2d Cir. 1982).

        The Second “Circuit’s test for whether conduct amounts to a true threat “is an objective

one—namely, whether an ordinary, reasonable recipient who is familiar with the context of the

[communication] would interpret it as a threat of injury.” Turner, 720 F.3d at 420 (citations

omitted) (emphasis added). 8 It has been noted generally that Section 11(b) should be interpreted

through the plain and ordinary meaning of its language. Disabled in Action of Penn. v. Se. Penn.

Trans Auth., 539 F.3d 199, 210 (3d Cir. 2008) (citations omitted) (“We assume that ‘Congress

expresses its intent through the ordinary meaning of its language’ and therefore begin ‘with an

examination of the plain language of the statute.’ If the language is unambiguous, our inquiry is at

an end.”).

    Courts follow the common practice of consulting dictionary definitions to discern ordinary

meaning, often looking to how a word was defined when the statute was adopted. See, e.g., MCI

Telecomms. Corp. v. AT&T Co., 512 U.S. 218, 225–28 (1994) (relying on dictionaries to ascertain

a term’s meaning, and reviewing current editions of dictionary and edition in use when the statute

was enacted). The definitions in Webster’s Third New International Dictionary, the general usage




8
 How can any Court ignore the fact that none of the Plaintiffs here perceived a threat of injury, intimidation, or
coercion?

                                                       14
         Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 20 of 27




dictionary most commonly cited by the Supreme Court, 9 are typical. Webster’s Third defines

“intimidate” as “to make timid or fearful; inspire or affect with fear; frighten, especially to compel

to action or inaction (as by threats).” Webster’s Third New International Dictionary at 1184

(1961). The relevant definition of “threat” in Webster’s Third is “an expression of an intention to

inflict evil, injury, or damage on another, usually as punishment for something done or left

undone.” Id. The relevant definition of “coercion” is “the act of coercing; use of physical or moral

force to compel to act or assent.” Id. at 439. Thus, the ordinary and natural meaning of these terms

is unambiguous.

    In United States v. McLeod, 385 F.2d 734 (5th Cir. 1967), the court afforded the phrase

“intimidate, threaten, or coerce” the ordinary meaning suggested by its plain words. While McLeod

was an action brought under the 1957 Civil Rights Act, rather than Section 11(b), both statutes use

the same phrase, “intimidate, threaten, or coerce,” pertaining to voting. Compare 42 U.S.C. §

1971(b) with 42 U.S.C. § 1973i(b). In McLeod, the Fifth Circuit reversed the district court’s

dismissal of an action seeking to enjoin the mass arrest of African Americans seeking to vote or

register to vote, as well as police surveillance of private associations active in registering voters.

385 F.2d at 739. The Fifth Circuit, examining whether the statutory standard of “coercion” was

satisfied, said its “first task, then, is to determine whether the record required the district court to

find that the arrests, prosecutions and other acts complained of had a coercive effect and were for

the purpose of interfering with the right to register and to vote.” Id. at 740. Noting that “[i]t is

difficult to imagine anything short of physical violence which would have a more chilling effect

on a voter registration drive than the pattern of baseless arrests and prosecutions revealed in this



9
 Jeffrey L. Kirchmeier & Samuel A. Thumma, Scaling the Lexicon Fortress: The United States Supreme Court’s Use
of Dictionaries in the Twenty-First Century, 94 MARQ. L. REV. 77, App. C (2010) (listing instances where the Court
cited each dictionary).

                                                       15
         Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 21 of 27




record,” the Court found that the district court “clearly erred in failing to find that the defendants’

acts threatened, intimidated, and coerced” prospective voters. Id. at 740-41; cf. NAACP v.

Thompson, 357 F.2d 831, 838 (5th Cir. 1966) (characterizing “arrest[s] en masse on frivolous or

unfounded charges” as intimidation).

                         i.    The Individual Plaintiffs

    Applying the plain language of relevant statutes to the facts of this case, it is amply clear that

Defendants’ conduct was (1) objectively not the kind of conduct that would intimidate, threaten,

or coerce voters; and (2) not, a fortiori, an attempt to intimidate, threaten, or coerce voters, in

violation of Section 11(b) of the Voting Rights Act or the KKK Act. The Individual Plaintiffs

concede that: 1) they were not intimidated or harmed in any way by the call (aside from being

inconvenienced or irritated, which is not actionable); 2) believed the substance of the call to be

false; 3) have not spoken to anyone in the Black community who received or was intimidated,

threatened, or coerced by the call; 4) they were merely speculating that certain members of the

Black community could have been intimidated by the Robocall; and 5) each of them voted in the

November 2020 presidential election despite the Robocall. 10 The foregoing does not establish the

elements of a viable 11(b) claim. Similarly, the NCBCP never received the call and speculates that

Black people could have been “tricked,” into voting in-person rather than by mail. Docket No. 149

at ¶ 72. This, too, fails to create a viable 11(b) claim. In fact, Plaintiffs, by their own testimony,

clearly conflate dissuasion or deterrence from mail-in voting with “threatening,” “intimidating,”

or “coercing” a person against voting at all.




10
   See (Ex. A at 22:4-25:1; 12:24-13:7; 28:19-22; 45:15-47:3; 53:19-54:3); (Ex. B at 15:21-24; 50-52; 54:25-55:12;
59:1-7); (Ex. C at 21:2-7); (Ex. D at 11:2-10; 25:11-13; 24:22-25:10; 46:15-20; 38:3-13; 80:10-13); (Ex. E at 27:7-9;
37:16-21, 43:18-24, 47:3-8; 35:22-36:3, 68:4-69:7; 83:24-84:10; 13:1-8); (Ex. F at 12:15-19; 30:23-31:6; 40:4-6;
55:23-56:10); (E. G at 16:15-18; 53:1-2; 43:6-11; 42:7-18; 86:12-15); (Ex. H at 14:24-15:4; 42:9-14; 45:17-19; 37:9-
38:12, 40:7-11; 48:14-23).

                                                         16
        Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 22 of 27




   Ironically, several Plaintiffs admit that they republished the allegedly offensive Robocall by

either replaying it or by distributing it electronically, including on social media websites, text

messages, and emails. Indeed, Ms. Winter chose to play the Robocall for her partner, Mr.

Steinberg, who was not a direct recipient of the Robocall himself, whom she presumably knew

had an allegedly idiosyncratic dissuasion toward anything involving the police, and who was the

only Plaintiff whose apparently rarified sensibilities were triggered by the mere mention of the

police. Apparently, Ms. Winter (who was the proximate cause, or at the very least, intervening

cause of, Mr. Steinberg’s alleged emotional trauma) and the other Individual Plaintiffs were not

concerned that by redistributing this message it could intimidate, threaten, or coerce anyone from

voting. Presumably, the Individual Plaintiffs’ republication and dissemination of the Robocall was

protected speech. By this logic, Plaintiffs’ conduct in re-disseminating the Robocall was

permissible because of their intent. Thus, if Defendants did not have the specific intent to

intimidate, threaten, or coerce anyone from voting, even assuming, arguendo, the Robocall

conceivably could have an intimidating, threatening, or coercive effect (which is could not),

Defendants cannot be liable. Any other result would be inconsistent, unjust, and unconstitutional.

For example, it appears that Ms. Winter republished the Robocall on social media to raise a hoopla,

which was assuredly her right to do, just as it would have been Defendants’ right to express their

opinion that mail-in voting had numerous pitfalls.

   Moreover, Mr. Steinberg’s purported emotional trauma is irrelevant because he has not

asserted a claim from intentional infliction of emotional distress (nor could he sustain such a claim)

and neither 11(b) nor the KKK Act provide a remedy for an individual who is merely viscerally

affected by speech. Neither Mr. Steinberg, nor any of the other Plaintiffs, were intimidated,

threatened, or coerced from voting in the November 2020 presidential election. Indeed, Mr.



                                                 17
         Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 23 of 27




Steinberg testified that he voted in the November 2020 presidential election, thereby proving that

the Robocall itself did not deter or suppress his ability to vote, despite his unusually fragile

emotional state. 11 Mr. Steinberg’s testimony that he was emotionally traumatized after the

Robocall accurately informed him certain voter information is publicly available does not convert

his idiosyncratic mental state into a claim under either 11(b) or the KKK Act. Mr. Steinberg’s

peculiar idiosyncrasies are, by definition, unreasonable and not normative, and therefore cannot

be taken into account when assessing whether a reasonable person would objectively perceive the

Robocall to be intimidating, threatening, or coercive.

     The Robocall was distributed by a third-party using an auto dialer that distributed a prerecorded

message to randomized telephone numbers within certain designated area codes; it was not

targeted toward specific races or ethnicities. There are no demographic tags on these phone lists.

Moreover, not only is there no evidence Defendants intended to induce or compel an individual to

refrain from voting, the evidence proves that it had no effect whatsoever. Even if Defendants

targeted Black voters, this in and of itself, is not unlawful, as demonstrated by NCBCP uses

robocalls to target black woman to raise voter awareness. 12 The Michigan, New York, and Ohio

neighborhoods targeted by the Robocall and resided in by Plaintiffs are not currently plagued by

the same level of racial disenfranchisement that existed in the Deep South in the 1950s or 1960s,

which is what section 11(b) sought to combat. 13 By all accounts, these are racially diverse, middle-


11
   Ex. C at 21:2-7.
12
   https://www.ncbcp.org/news/releases/galvanize_over_150000_bw_vote/index.html;
https://www.ncbcp.org/news/releases/coalition_of_black_women_leaders_ga_vote/index.html
13
   See, e.g., ALEXANDER KEYSSAR, THE RIGHT TO VOTE 18 (2d ed. 2009) note 44, at 212 (“Within a few
months of the [VRA’s] passage, the Justice Department dispatched examiners to more than thirty counties in four
states; scores of thousands of blacks were registered by the examiners, while many more were enrolled by local
registrars who accepted the law’s dictates to avoid federal intrusion. . . .In the [Deep South] as a whole, roughly a
million new voters were registered within a few years after the bill became law, bringing African-American
registration to a record 62 percent.”); see also United States v. Wood, 295 F.2d 772, 781 n.9 (5th Cir. 1961); United
States v. Clark, 249 F. Supp. 720, 728 (S.D. Ala. 1965).


                                                         18
        Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 24 of 27




class neighborhoods. See, e.g., Shelby County v. Holder, 570 U.S. 529, 531 (2013) (citations

omitted) (“Nearly 50 years later, things have changed dramatically. Largely because of the Voting

Rights Act, voter turnout and registration rates in covered jurisdictions now approach parity.

Blatantly discriminatory evasions of federal decrees are rare. And minority candidates hold office

at unprecedented levels. The tests and devices that blocked ballot access have been forbidden

nationwide for over 40 years.”).

     Finally, because the content of the Robocall is substantially true, it cannot be deemed

intimidating, threatening, or coercive as a matter of law. U.S. v. Nguyen, 673 F.3d 1259, 1264 (9th

Cir. 2012) (finding that because the portion of the letter stating that “those illegally in the country

or ‘legal residents’ cannot legally vote and may be subject to incarceration and deportation” was

true, there was no statutory violation). Simply stated, insofar as the Plaintiffs’ testimony is devoid

of any indicia that the Robocall was intimidating, threatening, or coercive, and there is no evidence

whatsoever aside from speculation and hearsay that the Robocall influenced, or could have

influenced, voting in the 2020 presidential election, there is no 11(b) violation.

                      ii.   The NCBCP

        According to the Complaint, one of NCBCP’s primary concerns with the Robocall is that

it could “trick” Black voters into voting in-person rather than voting by mail. Docket No. 149 at ¶

72. But being “tricked” into voting in-person is not disenfranchisement, nor is it equivalent to

being threatened, intimidated, or coerced into not voting at all. Indeed, in the months preceding

the 2020 Election, officials in New York, 14 Michigan, 15 and Ohio 16 confirmed that voting in-

person could be undertaken safely. Marshalling one’s opinions or beliefs, even if they are


14
    See https://www1.nyc.gov/assets/doh/downloads/pdf/covid/covid-19-voting.pdf.
15
   Seehttps://www.michigan.gov//media/Project/Websites/coronavirus/Folder14/Recommendations_for_Poll_Worker
s_and_Election_Officials.pdf?rev=45b773d17ba8442c91c0a2979ec55329
16
    See https://www.ohiosos.gov/globalassets/elections/directives/2020/2020-09-25.pdf

                                                    19
         Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 25 of 27




objectionable or deceptive, regarding the pitfalls of mail-in voting is protected speech and merely

encourages in-person voting. 17 Indeed, Ms. Brown testified that 1) in-person voting was no more

dangerous in 2020 than going to the supermarket or bank (Ex. I at 94:3-23); 2) she did not speak

to or hear of any person who claims they were deterred from voting as a result of the Robocall (id.

at 93:6-13); and 3) the Robocall had nothing to do with fewer people completing the Census, but

rather, the reduced Census numbers were due to the pandemic and because “Black people have a

distrust for the census already…” Id. at 99:8-100:12. This demonstrates the speculative and

conclusory nature of NCBCP’s allegations and supports summary judgment in Defendants’ favor.

         Ms. Brown’s testimony also demonstrates that any “diversion” of resources by NCBCP

was negligible, at best, having little, if any, impact on the organization’s resources or finances.

Ms. Brown testified that about half of the Coalition’s $80,000 budget in 2020 came from the

NCBCP (Id. 24:21-25:1), and that forty percent of the Coalition’s 2020 budget, or approximately

$32,000 ($16,000 of which came from NCBCP), went toward get out to vote (“GOTV”) activities.

Id. 85:7-11. Ms. Brown further testified that only one to two percent, or about $320, of the

Coalition’s GOTV budget was expended as a result of the Robocall; half of which, or $160, was

provided by NCBCP. Id. at 85:12-15. This is hardly significant and it is clear that NCBPC’s

allegations that it diverted resources and its “efforts to promote Census participation were impaired

and few people completed the Census” causing “irreparable” harm because of the Robocall, is

grossly exaggerated. Docket No. 149 at ¶ 73.

         For the foregoing reasons, Plaintiffs’ 11(b) and KKK Act claims must fail.

     II. Defendants Did Not Violate Section 131(b) of the Civil Rights Act of 1957

17
  In fact, encouraging in-person voting actually increases the likelihood a person’s vote will be counted. See, e.g.,
https://www.pbs.org/wgbh/frontline/article/2020-election-couldhinge-on-whose-votes-dont-count/ (“A more
pervasive problem, experts say, is disenfranchisement caused by the proportion of mail-in ballots that
are discarded on technicalities: For example, over 23,000 voters in the April 2020 primary election in Wisconsin, a
battleground state, had their ballots rejected”).

                                                          20
       Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 26 of 27




       Section 131(b) of the Civil Rights Act of 1957 (“section 131(b)”) expressly requires that

the proscribed “[i]ntimidation, threats, or coercion” be undertaken “for the purpose of interfering

with” the plaintiff’s right to vote. 52 U.S.C.A. § 10101(b), Section 131(b). As described herein,

the AG’s section 131(b) claims fail for two reasons. First, there was no intimidation, threats, or

coercion. Second, there is no evidence that Defendants’ intended to interfere with any citizens

right to vote. Accordingly, the AG’s section 131(b) claims must be dismissed.

   III. Defendants Did Not Violate Sections 40-c and 40-d of New York Civil Rights Law
       For the reasons stated herein, because Plaintiffs did not, and cannot, prove that Defendants

   discriminated against anyone in the exercise of his or her civil rights, this claim must be

   dismissed. Accordingly, the AG’s section 40-c and 40-d claims must be dismissed.

   IV. Defendants Did Not Violate Section 9 of NY Civil Rights Law
       For the reasons stated herein, Defendants did not intimidate or intend to intimidate anyone

   to suppress votes. Accordingly, the AG’s section 9 claim must be dismissed.

   V. Defendants Did Not Violate Section 63(12) of the NY Executive Law
       For the reasons stated herein, Defendants did not commit any fraudulent or illegal acts, but

   rather engaged in free speech protected by the First Amendment. Accordingly, the AG’s

   section 63(12) claim must be dismissed.

                                        CONCLUSION

       For all of the foregoing reasons, Defendants respectfully request that the Court deny

Plaintiffs’ Motion for Summary Judgment, award summary judgment to Defendants on all

claims, and grant such other and further relief as the Court deems just and proper.




                                                21
       Case 1:20-cv-08668-JSR Document 236 Filed 08/12/22 Page 27 of 27




Dated: August 12, 2022

                                    GERSTMAN SCHWARTZ LLP

                                           By: /s/ Randy E. Kleinman
                                           Randy E. Kleinman
                                           David M. Schwartz
                                           1399 Franklin Avenue, Suite 200
                                           Garden City, New York 11530
                                           Telephone: (516) 880-8170
                                           Facsimile: (516) 880-8171
                                           rkleinman@gerstmanschwartz.com
                                           dschwartz@gerstmanschwartz.com

                                           Attorneys for Defendants




                                      22
